            Case 2:10-md-02179-CJB-DPC Document 2407-1 Filed 05/19/11 Page 1 of 2


AO 440 (Rev. 12/09) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of Louisiana

 In Re: Oil Spill by the Oil Rig "Deepwater Horizon" in
                                                                )
         the Gulf of Mexico, on April20, 2010
                                                                )
                             Plaintiff
                                                                )
                                v.                              )       Civil Action No. MDLNo. 2179, case 10-3353
                                                                )
                                                                )
                                                                )
                            Defendant


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) BP America Production Company
                                   through their registered agent:
                                   C T Corporation System
                                   5615 Corporate Blvd., Ste. 400B
                                   Baton Rouge, LA70808



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United St~les described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached"iMt'JfJrrl?g-Vamotion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Paul M. Sterbcow
                                 Lewis, Kullman, Sterbcow & Abramson
                                 601 Poydras St., Suite 2615
                                 New Orleans, LA70130



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT



Date:
                                                                                    Signature of Clerk or Dep.lty Clerk
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 Civil Action No. MOL No. 2179, case 10-3353

                                                           PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)


          o I personally served the summons on the individual at (place)
                                                                                    on (date)                          ; or

          o I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
         -----------------
           on (date)                               , and mailed a copy to the individual's    last known address; or

          o I served the summons on (name of individual)                                                                         , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                    on (date)                          ; or

          o I returned the summons unexecuted because                                                                                ; or

          o Other (specify):



           My fees are $                           for travel and $                  for services, for a total of $           0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
